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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF INDIANA
                          INDIANAPOLIS DIVISION

JELENA LIU,                                     )
                                                )
                          Plaintiff,            )
                                                )
                     v.                         )      No. 1:25-cv-00716-JPH-TAB
                                                )
KRISTI NOEM in her official capacity as         )
Secretary of the United States                  )
Department of Homeland Security,                )
TODD LYONS in his official capacity as          )
the Acting Director of United States            )
Immigration and Customs Enforcment,             )
                                                )
                          Defendants.           )

   FINAL JUDGMENT UNDER FEDERAL RULE OF CIVIL PROCEDURE 58

      Having this day directed the entry of final judgment, the Court now

enters FINAL JUDGMENT in favor of Defendants and against Plaintiff. This

action is dismissed without prejudice.


Date: 5/28/2025

Kristine L. Seufert, Clerk


BY: _________________________________
    Deputy Clerk, U.S. District Court




Distribution:

All electronically registered counsel
